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     Email: mbigelow6401@sbcglobal.net
4
     Attorney for Defendant
5    Son Nguyen
6
                     IN THE UNITED STATES DISTRICT COURT
7
                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9                                      )   Case No. Cr.S-08-390 GEB
     UNITED STATES OF AMERICA,         )
10                                     )   STIPULATION AND PROPOSED ORDER
                Plaintiff,             )   CONTINUING STATUS
11                                     )
          vs.                          )   Date: June 11, 2010
12                                     )   Time: 9:00 AM
                                       )   Court: GEB
13   K. N. Phaouthoum, et. al.,        )
                                       )
14                                     )
                Defendant              )
15

16
                       STIPULATION TO CONTINUE HEARING
17
          Pursuant to agreement between the parties it is hereby
18

19   stipulated that hearing in the above referenced matter be

20   continued to June 11, 2010 at 9:00 AM.

21        The basis for this request is that defense counsel are

22   continuing to review discovery with their clients and are in

23   active plea negotiations with the government.
24        IT IS FURTHER STIPULATED that the period from April 23,
25
     2010, (the date set for the status conference) through and



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     including June 11, 2010, be excluded in computing the time
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     within which trial must commence under the Speedy Trial Act,
2
     pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for
3

4    continuity and preparation of counsel.

5

6    DATED: April 20, 2010,                   Respectfully submitted

7

8                                             /S/MICHAEL B. BIGELOW
                                              Michael B. Bigelow
9                                             Attorney for Son Nguyen
10
     IT IS SO STIPULATED
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12

13   /S/MICHAEL BECKWITH, Esq.,
     Michael Beckwith, Esq.,                       Dated: April 20, 2010
14   Assistant United States Attorney
     Attorney for Plaintiff
15

16   /S/MICHAEL B. BIGELOW, Esq.,                  Dated: April 20, 2010
     18, 2009
17   Michael B. Bigelow
     Attorney for Defendant
18   Son Nguyen
19

20
     /S/Joseph Wiseman, Esq.,                      Dated: April 20, 2010
     Steven Bauer, Esq.,
21   Attorney for Defendant
     Keoudone Noy Phaouthoum
22

23

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1    /S/JOHNNY L. GRIFFITH III, Esq.,                Dated: April 20, 2010
     Johnny L. Griffith III, Esq.,
2
     Attorney for Defendant
     John Li
3

4
     /S/DAVID W. DRATMAN, Esq.,                      Dated: April 20, 2010
5    David W. Dratman, Esq.,
     Attorney for Defendant
6    Tuy Nguyen

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9                                  ORDER (PROPOSED)
10
                  IT IS ORDERED: that pursuant to stipulation the above
11
     referenced matter shall be continued until June 11, 2010 at 9:00
12
     PM, and time excluded for the reasons set forth above.
13
     5/6/10
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                                         GARLAND E. BURRELL, JR.
15                                       United States District Judge
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